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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

NANCY ALANIS,                                      )
                                                   )
       Plaintiff,                                  )
                                                   )
V.                                                 )       CIVIL ACTION NO. SA-21-CA-952-FB
                                                   )
WELLS FARGO BANK NATIONAL                          )
ASSOCIATION, as Trustee for the                    )
Pooling and Servicing Agreement dated              )
as of October 1, 2006 Securitized Asset            )
Backed Receivables LLC Trust 2006-NC3              )
Mortgage Pass Through Certificates,                )
Series 2006 NC3; and MARK DOUGLAS                  )
CRONENWETT,                                        )
                                                   )
       Defendants.                                 )

                    ORDER DENYING MOTION FOR RECONSIDERATION

       Before the Court is Defendant Wells Fargo Bank, N.A. as Trustee’s Motion for Reconsideration

of Remand Order. (Docket no. 9). The Court lacks jurisdiction over Defendant's motion for

reconsideration because it determined in its remand order that it lacks subject matter jurisdiction over

this action. (Docket no. 5). Remand orders based on a lack of subject matter jurisdiction are not

reviewable. Wilson v. Dallas Cnty. Hosp. Dist., 715 F. App'x 319, 324 (5th Cir. 2017), cert. denied, 138

S. Ct. 1597 (2018); Browning v. Navarro, 743 F.2d 1069, 1078 (5th Cir. 1984). Accordingly, the Court

is of the opinion that the motion should be denied.

       Section 1447(d) of Title 28 provides “[a]n order remanding a case to the State court from which

it was removed is not reviewable on appeal or otherwise,” except under limited circumstances not

present here. “This language has been universally construed to preclude not only appellate review but

also reconsideration by the district court.” Seedman v. United States Dist. Court for Cent. Dist. of
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Calif., 837 F.2d 413, 414 (9th Cir. 1998). Therefore, where the district court remands a case either for

lack of subject matter jurisdiction or for a defect in the removal process, the court is divested of

jurisdiction as soon as the remand order is certified and mailed by the clerk–even if the remand was

erroneous. See Firefighters’ Ret. Sys. v. Citco Grp. Ltd., 796 F.3d 520, 524 (5th Cir. 2015) (citing

Quackenbush v. Allstate, 517 U.S. 706, 711-12 (1996); Arnold v. Garlock, Inc., 278 F.3d 426, 437 (5th

Cir. 2001).1 Here, this District Court remanded this case on October 8, 2021, for lack of subject matter

jurisdiction, and the Order was certified and mailed by the Clerk of Court on October 8, 2021.

Accordingly, the Court lacks jurisdiction to reconsider the Order of remand issued in this case. See

Firefighters’ Ret. Sys., 796 F.3d at 524; Arnold, 278 F.3d at 437.

       IT IS THEREFORE ORDERED that Defendant Wells Fargo Bank, N.A. as Trustee’s Motion

for Reconsideration of Remand Order (docket no. 9) is DENIED.

       It is so ORDERED.

       SIGNED this 29th day of October, 2021.


                                        _________________________________________________
                                        FRED BIERY
                                        UNITED STATES DISTRICT JUDGE




         1
          Cf. Certain Underwriters at Lloyd’s, London & Other Insurers Subscribing to
 Reinsurance Agreements F96/2922/00 & No. F97/2992/00 v. Warrantech Corp., 461 F.3d 568,
 572 (5th Cir.2006) (“[F]or a remand order to be reviewable on appeal, the district court must
 ‘clearly and affirmatively’ state a non-§ 1447(c) ground for remand.”).

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